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Supreme Court of the United States
Office of the Clerk
Washington, DC 20543-0001

Scott S. Harris
Clerk of the Court

February 4, 2020 (202) 479-3011

Clerk

United States District Court for the District of
Columbia

United States Courthouse

38rd & Constitution Avenue, NW

Washington, DC 20001

Re: Center for Biological Diversity, et al.
v. Chad Wolf, Acting Secretary of Homeland Security, et al.
No. 19-975
(Your No. 18-cv-0655-KBJ, 19-cv-2085-KBJ)

Dear Clerk:

The petition for a writ of certiorari in the above entitled case was filed on
January 31, 2020 and placed on the docket February 4, 2020 as No. 19-975.

Sincerely,
Scott S. Harris, Clerk

WD S

Clara Houghteling
Case Analyst

 
